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      Federal Defender
 2    ERIN SNIDER, Bar #304781
      Assistant Federal Defender
 3    Designated Counsel for Service
      2300 Tulare Street, Suite 330
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 5    Fax: (559) 487-5950
 6    Attorney for Defendant
      JORGE CELESTINO ALVAREZ-ARIAS
 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11                                                 )   Case No. 1:16-cr-00122-DAD-BAM
      UNITED STATES OF AMERICA,                    )
12                                                 )   STIPULATION TO MODIFY SEPTEMBER 6,
                        Plaintiff,                 )   2016 ORDER PERMITTING DISCLOSURE OF
13                                                 )   PORTIONS OF CERTAIN SEALED ORDERS,
      vs.                                          )   APPLICATIONS, AFFIDAVITS,
14                                                 )   RECORDINGS AND FOR PROTECTIVE
      JORGE CELESTINO ALVAREZ-                     )   ORDER; ORDER
15    ARIAS,                                       )
                                                   )
16                     Defendant.                  )
                                                   )
17                                                 )
18           IT IS HEREBY STIPULATED, by and between the parties, through their respective
19    counsel, Assistant United States Attorney Kimberly Sanchez, counsel for plaintiff, and Assistant
20    Federal Defender Erin Snider, counsel for defendant Jorge Celestino Alvarez-Arias, that the
21    Court’s September 6, 2016 Order Permitting Disclosure of Portions of Certain Sealed Orders,
22    Applications, Affidavits, Recordings and for Protective Order (hereinafter, “Protective Order”),
23    filed in Case No. 1:15-SW-00288-LJO, may be modified. Specifically, to the extent the
24    paragraph starting at line 16 on the second page of the Protective Order could be read to apply to
25    all discovery, the parties agree that the Protective Order should be modified to apply only to the
26    Title III applications, affidavits, orders, and recordings. The parties agree that defense counsel
27    may provide to Mr. Alvarez-Arias copies of discovery materials other than the Title III
28    applications, affidavits, orders, and recordings.
     Case 1:16-cr-00122-DAD-BAM Document 134 Filed 04/13/17 Page 2 of 2


 1                                                Respectfully submitted,
 2                                                PHILLIP A. TALBERT
                                                  United States Attorney
 3
 4    Date: April 12, 2017                        /s/ Kimberly Sanchez
                                                  KIMBERLY SANCHEZ
 5                                                Assistant United States Attorney
                                                  Attorney for Plaintiff
 6
 7                                                HEATHER E. WILLIAMS
                                                  Federal Defender
 8
 9    Date: April 12, 2017                        /s/ Erin Snider
                                                  ERIN SNIDER
10                                                Assistant Federal Defender
                                                  Attorney for Defendant
11                                                JORGE CELESTINO ALVAREZ-ARIAS
12
13
                                                ORDER
14
              The Court’s September 6, 2016 Order Permitting Disclosure of Portions of Certain
15
      Sealed Orders, Applications, Affidavits, Recordings and for Protective Order, filed in Case No.
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      1:15-SW-00288-LJO, is modified as set forth above.
17
18    IT IS SO ORDERED.

19        Dated:      April 12, 2017
20                                                       UNITED STATES DISTRICT JUDGE

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      Alvarez-Arias: Stipulation
      and Proposed Order
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